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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )      PRETRIAL STATUS CONFERENCE
               Plaintiff,                    )
                                             )
       vs.                                   )
                                             )      Case No. 1:23-cr-00044
Summer Dawn Wahus,                           )
                                             )
               Defendant.                    )


       The undersigned shall hold a pretrial status conference with counsel by telephone on April

17, 2024, at 11:15 AM to discuss, among other things, the viability of the current trial date. To

participate, counsel shall call (877) 810-9415 and enter access code 8992581. Counsel are strongly

encouraged to consult with each other prior to the conference. This will enable the conference to

progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 14th day of March, 2024.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
